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          EXHIBIT 43
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            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                      Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


     CURLING PLAINTIFFS’ REPLY IN SUPPORT OF MOTION FOR
                  PRELIMINARY INJUNCTION
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       Defendants claim they are using cutting edge statewide risk-limiting audits.

They are not. By definition, a risk-limiting audit has a known minimum chance of

correcting the reported election outcome if the reported outcome is wrong. (Id. ¶ 6.)

Defendants’ audit rules fall short, because they do not call for true risk-limiting

audits, call for audits of only one contest, among dozens, every two years, explicitly

allow for political influence, and fail to follow basic principles for election integrity.

(Id. ¶¶ 4-16.) A post-election audit of a meaningfully flawed paper trail cannot cure

the flaws of that paper trail.

                6.   Elements of the DRE/GEMS System Still Plague BMDs
       Defendants continue to claim that the DRE/GEMS system is separate and

apart from BMDs, and the issues that compromised the DRE system have no effect

on BMDs. Defendants are wrong. (Halderman Decl. ¶¶ 11-12, 15-35, 47.) For

example, Defendants ignore that the voter registration database remains the same

one from the DRE era. (Halderman Decl. ¶ 12.) As Dr. Coomer explains, the new

Poll pads used with BMDs will “receive flat text files for each election containing

the then-current voter information from the state’s voter-registration database.”

(Dkt. No. 821-1 ¶ 8.) This is the same database that Fortalice reported could be

accessed by hundreds of individuals in 2017 and had rampant security issues.

Curling II, 397 F. Supp. 3d at 1377-78. This alone reveals a dangerous link

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between the old system and the new, in addition to the fact that many of the same

personnel, network, and hardware support the new system.

                7.   State Defendants’ Arguments Regarding “Actual
                     Compromise” Are Meritless
       State Defendants make much of the fact that Plaintiffs’ analysis of the

DRE/GEMS system has not yet revealed any actual compromise, but this argument

runs counter to the Court’s detailed findings of acute vulnerabilities at every level of

the Georgia system. Curling II, 397 F. Supp. 3d at 1410-12. The Court has never

required evidence of any actual attack as a threshold for relief. Were this the

threshold, then the results would be disastrous.

       As a practical matter, Defendants ignore that they have obstructed and delayed

Dr. Halderman’s analysis, only recently producing thousands of memory cards for

just three counties and even more recently some DRE data. (See Halderman Decl.

¶¶ 15-35.) Defendants may not know how long it takes to forensically examine such

materials since they have never had it done, but it unfortunately is difficult and time-

consuming—and it may find nothing merely because attacks can be undetectable.

Thus, the outcome of any such examination cannot rule out the possibility of

malware in the system, nor does the examination dictate whether the Curling

Plaintiffs are entitled to the relief they seek. As to the KSU server, Defendants

conveniently ignore their spoliation of data on the server. Curling II, 397 F. Supp.
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 Dated: September 1, 2020           Respectfully submitted,

                                     /s/ David D. Cross
                                    David D. Cross (pro hac vice)
                                    John P. Carlin (pro hac vice)
                                    Lyle P. Hedgecock (pro hac vice)
                                    Mary G. Kaiser (pro hac vice)
                                    Robert W. Manoso (pro hac vice)
                                    MORRISON & FOERSTER LLP
                                    2000 Pennsylvania Avenue, NW
                                    Suite 6000
                                    Washington, DC 20006
                                    Telephone: (202) 887-1500
                                    DCross@mofo.com
                                    JCarlin@mofo.com
                                    LHedgecock@mofo.com
                                    MKaiser@mofo.com
                                    RManoso@mofo.com

                                    Halsey G. Knapp, Jr.
                                    GA Bar No. 425320
                                    Adam M. Sparks
                                    GA Bar No. 341578
                                    KREVOLIN & HORST, LLC
                                    1201 West Peachtree Street, NW
                                    Suite 3250
                                    Atlanta, GA 30309
                                    HKnapp@khlawfirm.com
                                    Sparks@khlawfirm.com

                                    Counsel for Plaintiffs Donna Curling,
                                    Donna Price & Jeffrey Schoenberg




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